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AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations
         Sheet I



                                      United States District Cour t
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                         WAYCROSS DIVISION

          UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CA S
                      V.                                                             (For Revocation of Probation or Supervised Release )



           Isaac Stanley Goettie                                                     Case Number :              CR597-00003-020
                                                                                    USM Number :                09458-02 1

                                                                                     William Robert Little .
                                                                                     Defendant 's Attorney
THE DEFENDANT :
[X] admitted guilt to violation of mandatory and standard conditions of the term of supervision .
[ ] was found in violation of condition(s) _ after denial of guilt .

The defendant is adjudicated guilty of these violations :

  Violation Number Nature of Violation Violation Ende d

            1 The defendant failed to refrain from unlawful use of a controlled February 28, 2007
                      substance (mandatory condition) .
            2 The defendant failed to report to the probation officer as March 1, 2007
                      directed by the Court or probation officer (standard condition) .

         The defendant is sentenced as provided in page 2 of this judgment . The sentence is imposed pursuant to the Sentencing Reform
Act of 1984 .

[ ] The defendant has not violated condition(s)- and is discharged as to such violation(s) condition .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .

Defendant's Soc . Sec . No : 254-92-286 0

Defendant's Date of Birth : November 18, 1954                                                June 1, 200 7
                                                                                             Date of Imposition of Judgment



Defendant's Residence Address :
411 Wilkerson Street                                                                          Signature of Judge

Waycross, Georgia 31501

                                                   William T . Moore, Jr.
Defendant 's Mailing Address :                 Chief Judge, U .S . District Court
411 Wilkerson Street                               Name and Title of Judg e
Waycross, Georgia 31501                                                                         wlZoyt jG a. 00 7
                                                                                              Date
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       Sheet 2 - Imprisonment


DEFENDANT: Isaac Stanley Goettie
CASE NUMBER: CR597-00003-020
                                                               IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 9 months .

[X] The Court makes the following recommendations to the Bureau of Prisons :
      The defendant be incarcerated at the facility located in Jesup, Georgia .

[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district,

          [ ] at _ [ ] a .m. [ ] p.m. on
          [ ] as notified by the United States Marshal .

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :


          [ ] before 2 p.m. on
          [ ] as notified by the United States Marshal .
          [ ] as notified by the Probation or Pretrial Services Office .
                                                                   RETURN
          I have executed this judgment as follows :




          Defendant delivered on t o
at with a certified copy of this judgment .




                                                                                     United States Marshal


                                                                              By
                                                                                   Deputy United States Marshal
